                 UNITED STATES DISTRICT COURT
                 NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION



In re: Consumer Vehicle Driving Data
Tracking Collecting                    Case No. 1:24-md-03115-TWT

                                       This Document Relates to Case Nos:
                                       1:24cv648 (N.D. Ala.)
                                       2:24cv2560 (C.D. Cal.)
                                       2:24cv2978 (C.D. Cal.)
                                       2:24cv3515 (C.D. Cal.)
                                       2:24cv4030 (C.D. Cal.)
                                       8:24cv695 (C.D. Cal.)
                                       3:24cv2540 (N.D. Cal.)
                                       9:24cv80281 (S.D. Fla.)
                                       1:24cv1558 (N.D. Ga.)
                                       1:24cv1669 (N.D. Ga.)
                                       1:24cv1807 (N.D. Ga.)
                                       1:24cv2070 (N.D. Ga.)
                                       1:24cv2295 (N.D. Ga.)
                                       1:24cv2479 (N.D. Ga.)
                                       2:24cv1080 (E.D. Mich.)
                                       2:24cv10824 (E.D. Mich.)
                                       2:24cv11004 (E.D. Mich.)
                                       2:24cv11062 (E.D. Mich.)
                                       2:24cv11119 (E.D. Mich.)
                                       2:24cv11153 (E.D. Mich.)
                                       2:24cv11194 (E.D. Mich.)
                                       2:24cv11221 (E.D. Mich.)
                                       0:24cv1517 (D. Minn.)
                                       1:24cv2238 (S.D.N.Y.)
                                       1:24cv3203 (S.D.N.Y.)
                                       3:24cv524 (M.D. Pa.)


                     ORDER STAYING DEADLINES

     Upon consent of the parties, IT IS HEREBY ORDERED that all deadlines in
the matters set forth below (collectively, the “Consolidated Matters”), which were

consolidated and/or transferred to this Court, are hereby stayed pending this Court

conducting a Case Management Conference to establish a coordinated schedule for

this Multidistrict Litigation:

                           Northern District of Alabama

      PARTON V. GENERAL MOTORS LLC ET AL., No. 1:24cv648

                            Central District of California

      KING, ET AL. v. GENERAL MOTORS LLC, ET AL., 2:24cv2560
      CHRISTOPHER VALENCIA V. GENERAL MOTORS LLC ET AL.,
      2:24cv2978
      DAVID GARCIA, III V. GENERAL MOTORS LLC ET AL., 2:24cv3515
      NATHANIEL HAIDEN V. GENERAL MOTORS LLC ET AL., 2:24cv4030
      THONGSAWANG v. GENERAL MOTORS LLC, ET AL., 8:24cv695

                           Northern District of California

      SMITH, JR. V. GENERAL MOTORS, LLC ET AL., 3:24cv2540

                            Southern District of Florida

      CHICCO v. GENERAL MOTORS LLC, ET AL., 9:24cv80281

                            Northern District of Georgia

      MASON V. GENERAL MOTORS, LLC ET AL., 1:24cv1558
      FIGLIO ET AL. V. GENERAL MOTORS, LLC ET AL., 1:24cv1669
      LAFALCE V. GENERAL MOTORS, LLC ET AL., 1:24cv1807
      GRACE GILMORE V. GENERAL MOTORS, ET AL., 1:24cv2070
      TORRES V. GENERAL MOTORS LLC, ET AL., 1:24cv2295
      BRUNET V. GENERAL MOTORS LLC, ET AL., 1:24cv2479




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                Eastern District of Michigan

REED, ET AL. v. GENERAL MOTORS LLC, ET AL., 2:24cv10804
BLOCK, ET AL. v. GENERAL MOTORS LLC, ET AL., 2:24cv10824
CARNINE ET AL. V. GENERAL MOTORS LLC ET AL., 2:24cv11004
COGLE V. GENERAL MOTORS, LLC ET AL., 2:24cv11062
LIMA V. GENERAL MOTORS LLC ET AL., 2:24cv11119
LAURSEN V. GENERAL MOTORS, LLC ET AL., 2:24cv11153
DREWS ET AL. V. GENERAL MOTORS LLC ET AL., 2:24cv11194
MARTINEZ, JR. ET AL. V. GENERAL MOTORS, LLC ET AL.,
2:24cv11221

                    District of Minnesota

BEHM V. GENERAL MOTORS LLC ET AL., 0:24cv1517

               Southern District of New York

LANDMAN v. GENERAL MOTORS LLC, ET AL., 1:24cv2238
DAVIDS ET AL. V. GENERAL MOTORS LLC ET AL., 1:24cv3203

               Middle District of Pennsylvania

DINARDO v. GENERAL MOTORS LLC, ET AL., 3:24cv524


IT IS SO ORDERED this ____         July
                       2nd day of __________ 2024

                                       _______________________
                                       Hon. Thomas W. Thrash
                                       United States District Judge




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